Case 1:03-cv-01324-STA Document 20 Filed 05/03/05 Page 1 of 2 Page|D 13

’LRAO 85 (Rev. 8/98) Notice, Consent, and Order of Reference _ Exercise ofJurisdiction by a United States Magistrate Judge

UNITED S'rATEs DlsTRICT COURT

 

 

   

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_ _ , NoTICE, coNsENT, AND oRr)ER oF REFERENCE _
PBQQY H'C*<S- 'nd“"dua"y» et a'- EXERCISE oF JURlsr)rcTroN BY A UNITED srATEs
Piainnrr MAoisrRATE JUDGE
V. v ¢:)
-_-'r ‘ j 01 -_1`-‘:|
_ Case Number: 1-03-1324-T-An -:' tx §§
Otha R. Whitaker and Landstar Ranger, |nc. »'__<="’ Cl
Defendants l §§
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_ _ := t
NoTlcE oF AVAILABILITY oF A UNITED STATES MAGISTRM%§§.@‘);GE m
To EXERCISE JURISDICTION § g §;-;-_~ ; §§

In accordance with the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United States
magistrate judge of this district court is available to conduct any or all proceedings in this case including a jury or nonjury trial,
and to order the entry of a final judgment Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all
parties voluntarily consent.

You may, without adverse substantive consequences, withhold your consent, but this will prevent the court‘s jurisdiction
from being exercised by a magistrate judge. It` any party withholds consent, the identity of the parties consenting or withholding
consent will not be communicated to any magistrate judge or to the district judge to whom the case has been assigned

An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for
this judicial circuit in the same manner as an appeal from any other judgment of this district court.

CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

In accordance with provisions of 28 U.S.C. §636(c) and Fed.R.Civ.P. 73, the parties in this case consent to have a United
States magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a final judgment, and
conduct all post-judgment proceedings

 

 

Party Represented Signatures Date
Peggy Hicks il -- `31‘§"" vii
Otha R. Whitaker and Landstar Ranger, |nc. 4 - 93 - 0 §

 

 

 

 

ORDER OF REFERENCE

IT IS ORDERED that this case be referred to Honor'ab le S . Thomas Anderson
United States Magistrate Judge, to conduct all proceedings and order the entry of judgment in accordance with 28 U.S.C.

§636(c) and Fed R. Civ. P 73.
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fate United States District .ludge
NOTE: RETURN THlS FORM TO THE CLERIJ F THE COURT ONL_____Y_ IF ALL PARTIES HAVE CONSENTED
ON THIS FORM T 0 THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
This document entered on the docket sheet in compliance
with Rule 58 and,'or_?Q (a) FHCP OFI

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UNITD sATES DISTRIC COURT - W"T'RN DISITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:03-CV-01324 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

